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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISOURI
                                 EASTERN DIVISION

OLUWAKEMI ADEWOL, et al.,                     )
on behalf of themselves and all others        )
similarly situated,                           )
                                              )
       Plaintiff(s),                          )
                                              )
v.                                            )     No. 4:22CV00254 NCC
                                              )
FRIEKEMSCHMIDT FOODS LLC,                     )
et al.,                                       )
                                              )
       Defendant(s).                          )

                              CLERK’S ENTRY OF DEFAULT

      This matter is before the Clerk of Court on Plaintiffs’ Motion for Entry of Clerk's Default

against Defendant Wicked Cutz LLC [ECF No. 24] pursuant to Fed.R.Civ.P. 55(a). The record

reflects service of summons upon Defendant on April 26, 2022. Defendant has failed to file an

answer or other responsive pleading within the time required by Fed.R.Civ.P. 12.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs’ Motion for Entry of Clerk's Default against

Defendant Wicked Cutz LLC [ECF No. 24] is GRANTED and the default of said defendant is

hereby entered.

       Dated this 25th day of May, 2022.




                                                  Gregory J. Linhares
                                                  Clerk of Court
